THE COURT.
A judgment for damages after verdict by a jury was entered against the defendants in the above-entitled action and separate appeals taken therefrom, which have been presented on separate records. [1] The appeal taken by the defendant Citraro has been this day determined adversely to his contentions (Edgar v.Citraro (No. 6865), ante, p. 163 [297 P. 645]), and all of the points urged by the defendant Pratt on the present appeal were considered and disposed of in our decision therein. Therefore, in conformity with the conclusions stated therein the judgment as to appellant Pratt is also affirmed.
A petition for a rehearing of this cause was denied by the District Court of Appeal on March 27, 1931, and a petition by appellant to have the cause heard in the Supreme Court, after judgment in the District Court of Appeal, was denied by the Supreme Court on April 23, 1931. *Page 765 